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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

 SAUL HOROWITZ, as sellers’
 representative,
                         Plaintiff,                                  17-CV-7742 (JPO)

                      -v-                                                  ORDER

 NATIONAL GAS & ELECTRIC, LLC,
 and SPARK ENERGY, INC.,
                        Defendants.


J. PAUL OETKEN, District Judge:

       The Court held a pretrial conference in this matter on May 8, 2019. For the reasons

stated from the bench:

       •    Plaintiff’s motion at Docket Number 51 for partial summary judgment is DENIED

            WITHOUT PREJUDICE to renewal of the arguments therein.

       •    Defendants’ motion at Docket Number 63 for leave to file an amended answer is

            GRANTED. Defendants shall file an amended answer in the form indicated at

            Docket Number 64-1 within seven (7) days of the date of this order.

       •    Defendants’ motion at Docket Number 83 for leave to file an amended answer is

            DENIED.

       •    Defendants’ motion at Docket Number 86 for sanctions is GRANTED in part and

            DENIED in part.

       •    Plaintiff’s motion at Docket Number 113 to strike certain portions of Defendants’

            reply in support of their motion for sanctions or in the alternative for leave to file a

            sur-reply is GRANTED in part and DENIED in part.




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       •    The parties’ motions at Docket Numbers 85, 88, 92, and 105 for leave to file portions

            of the briefing of the aforementioned motions under seal are GRANTED.

       The parties are directed to appear for a pretrial conference to be held on August 15, 2019

at 3:00 p.m.

       The Clerk of Court is directed to close the motions at Docket Numbers 51, 63, 83, 85, 86,

88, 92, 105, and 113.

       SO ORDERED.

Dated: May 8, 2019
       New York, New York

                                             ____________________________________
                                                        J. PAUL OETKEN
                                                    United States District Judge




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